     Case 3:23-cr-01855-LAB Document 32 Filed 02/06/24 PageID.70 Page 1 of 4




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 7
   UNITED STATES OF AMERICA
 8
                           UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10
    UNITED STATES OF AMERICA,          Case No.: 23-cr-1855-LAB
11
12                     Plaintiff,      NOTICE OF UNITED STATES’ INTENT
        v.                             TO OFFER EVIDENCE UNDER RULES
13                                     702, 703, AND 705 & REQUEST FOR
14 EDWIN CUADRADO,                     RECIPROCAL DISCOVERY

15                       Defendant.            The Honorable Larry A. Burns
16
17      PLEASE TAKE NOTICE that Plaintiff, UNITED STATES OF AMERICA, intends to
18 offer evidence under Rules 702, 703, and 705 of the Federal Rules of Evidence in its case-
19 in-chief at trial or during its rebuttal case to counter expert testimony offered by the
20 Defendant in this case.
21      1. Notice of Evidence Under Rules 702, 703, and 705
22      Pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure, the United
23 States provides the following disclosure concerning expert testimony that the United States
24 will seek to introduce pursuant to Rules 702, 703, and 705 of the Federal Rules of Evidence.
25 The United States reserves the right to offer additional testimony by these expert(s), or
26 other expert witness(es), and for the experts to amend or adjust their opinions and bases
27 therefore, based on information perceived by or made known to the experts before or during
28 trial.
     Case 3:23-cr-01855-LAB Document 32 Filed 02/06/24 PageID.71 Page 2 of 4




 1      A. Forensic Chemist – David Huang
 2      Absent a signed stipulation between the parties, the United States intends to offer the
 3 testimony of United States Postal Inspection Service (USPIS) Forensic Laboratory
 4 Services Forensic Chemist David Huang that the drugs seized from Defendant on August
 5 30, 2023 consisted of methamphetamine, a Schedule II controlled substance. Mr. Huang’s
 6 opinion will be based upon his laboratory testing the seized methamphetamine weighing
 7 approximately 3.45 grams. Mr. Huang’s curriculum vitae and list of prior testimony since
 8 2018 was previously produced.
 9         Mr. Huang will testify about his qualifications and the steps he took to analyze the
10 suspected controlled substances he received for testing. Mr. Huang will testify that
11 he received      a    sealed   bag   containing   the      suspected    controlled   substance,
12 recorded the approximate weight of the suspected controlled substance, and took a
13 sample for testing using         infrared   spectroscopy,      gas     chromatography,    mass
14 spectrometry, and nuclear magnetic resonance spectroscopy, as set forth in the lab
15 reports produced in discovery. Mr. Huang will describe the instruments uses to run
16 these tests, the scientific principles that were applied, and why the results of his
17 analysis support his conclusion as to the identity of the narcotic. Mr. Huang’s opinions
18 are based on the chemical, physical, and instrumental analyses, the results generated by
19 those analyses, and his interpretation of those results.
20         In addition, Mr. Huang will testify about the USPIS Forensic Laboratory
21 Services’s review process and that the results of his testing were confirmed by a
22 technical reviewer. Finally, Mr. Huang will describe the USPIS Forensic Laboratory
23 Services’s evidence systems, including the use of case numbers and lab file
24 numbers and how the USPIS Forensic Laboratory Services Forensic Chemist tracks the
25 narcotics while they are in the laboratory’s possession. This disclosure and the
26 referenced documents are not an exhaustive or complete recitation of testimony the
27 chemist may offer. In addition, the chemist may offer opinions in response to questions
28 posed during trial.


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     Case 3:23-cr-01855-LAB Document 32 Filed 02/06/24 PageID.72 Page 3 of 4




 1         Mr. Huang has not written a publication in the last ten years.
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        _____________________________
 3
        David C. Huang, Forensic Chemist
 4
 5      2. Notice of Request for Reciprocal Discovery
 6      Under Rule 16(b)(1)(A), the United States requests to inspect, copy, and photograph
 7 any and all books, papers, documents, photographs, tangible objects, or make copies of
 8 portions thereof, which are within the possession, custody or control of Defendant and that
 9 he intends to introduce as evidence in his case-in-chief at trial.
10      Under Rule 16(b)(1)(B), the United States requests to inspect and copy or photograph
11 any results or reports of physical or mental examinations and of scientific tests or
12 experiments made in connection with this case, which are in the possession or control of
13 Defendant that he intends to introduce as evidence at the trial or that were prepared by a
14 witness whom Defendant intends to call.
15      Under Rule 16(b)(1)(C), the United States requests a written statement of any testimony
16 that Defendant intends to use under Rules 702, 703, and/or 705 of the Federal Rules of
17 Evidence as evidence at trial. This statement must include a complete statement of all
18 opinions that the defendant will elicit from the witness in the defendant’s case-in-chief; the
19 bases and reasons for them; the witness’s qualifications, including a list of all publications
20 authored in the previous 10 years; and, a list of all other cases in which, during the previous
21 4 years, the witness has testified as an expert at trial or by deposition.
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     Case 3:23-cr-01855-LAB Document 32 Filed 02/06/24 PageID.73 Page 4 of 4




 1        The United States also asks for prior statements of all witnesses (except Defendant)
 2 under Rule 26.2.
 3
          DATED: February 6, 2024
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                                              Respectfully submitted,
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 6                                            TARA K. MCGRATH
                                              United States Attorney
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 9                                            JAMES REDD
10                                            Assistant U.S. Attorneys
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